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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

             JOSE LUIS PIMENTAL,                     :    CRIMINAL NO.
                  Movant,                            :    1:05-CR-0477-29 -CC-GGB
                                                     :
                   v.                                :    CIVIL ACTION NO.
                                                     :    1:09-CV-3194-CC-GGB
             UNITED STATES OF AMERICA,               :
                 Respondent.                         :    MOTION TO VACATE
                                                     :    28 U.S.C. § 2255


                                                ORDER

                   The above entitled action is presently before the Court on the Magistrate

             Judge’s Final Report and Recommendation recommending denying Movant’s motion

             to vacate sentence under 28 U.S.C. § 2255. [Doc. 1552]. On October 3, 2011,

             Movant filed objections to the Report and Recommendation. [Doc. 1557]. The Court

             has reviewed the Report and Recommendation and finds the Magistrate Judge’s

             conclusions to be well-founded. Movant’s objections raise claims relating to his

             sentencing and, as discussed in the Report and Recommendation, those claims are

             barred by his knowing and voluntary waiver of the right to collaterally attack his

             sentence. Thus, Movant’s objections are overruled.

                   IT IS HEREBY ORDERED that the Court ADOPTS the Magistrate Judge’s

             Report and Recommendation. Movant’s § 2255 motion [Doc. 1468] is DENIED.




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                   IT IS FURTHER ORDERED that a certificate of appealability be DENIED.

             The Clerk is directed to close this action.



                   IT IS SO ORDERED this 23rd day of       November   , 2011.



                                                 s/ CLARENCE COOPER
                                              CLARENCE COOPER
                                              UNITED STATES DISTRICT JUDGE




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